Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 1 of 27



                                  EXHIBIT 1

                                  GEPP Lease
                      Exhibit 1 (GEPP Lease) Page 2 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 3 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 4 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 5 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 6 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 7 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 8 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 9 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 10 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 11 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 12 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 13 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 14 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 15 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 16 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 17 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 18 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 19 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 20 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 21 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 22 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 23 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 24 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 25 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 26 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
                      Exhibit 1 (GEPP Lease) Page 27 of 27
Case 21-31488-sgj11   Doc 123-2 Filed 07/21/22 Entered 07/21/22 21:16:36   Desc
